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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

ANJANETTE YOUNG,                 )
                                 )
          Plaintiff,             )
                                 )
          -vs-                   )                    Case No.: 19-cv-05312
                                 )
THE CITY OF CHICAGO; CHICAGO     )
POLICE OFFICERS ALAIN APORONGAO; )
ALEX J. WOLINSKI; and UNKNOWN    )                    Jury Trial Demanded
CHICAGO POLICE OFFICERS,         )
                                 )
          Defendants.            )

                                COMPLAINT AT LAW

      NOW COMES Plaintiff, ANJANETTE YOUNG (“Plaintiff”) by and through

her attorney Keenan J. Saulter, of Saulter Law P.C., and for her Complaint against

Defendants THE CITY OF CHICAGO, CHICAGO POLICE OFFICER ALAIN

APORONGAO, CHICAGO POLICE OFFICER ALEX J. WOLINKSI and several

UNKNOWN CHICAGO POLICE OFFICERS pursuant to 42 U.S.C. § 1983, states

as follows:


                                     OVERVIEW


      1.      This action arises out of an incident that occurred at Plaintiff’s home

located at 164 N. Hermitage Avenue, Chicago, Cook County, Illinois 60612 on

February 21, 2019.




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       2.     As a result of this incident, Plaintiff ANJANETTE YOUNG, was

emotionally scarred and traumatized as Chicago Police Officers unlawfully raided

her home.

       3.     Plaintiff was handcuffed while completely naked by several male

Police Officers employed by the Defendant THE CITY OF CHICAGO.

                                           PLAINTIFF

       4.     Plaintiff ANJANETTE YOUNG is a resident of the Northern District

of Illinois, Eastern Division at the time of the incident (and remains a resident here

as of the filing of this action).

                                           DEFENDANT

       5.     Defendant THE CITY OF CHICAGO, is a Municipal Corporation

under the laws of the State of Illinois.

       6.     Defendant Chicago Police Officers ALAIN APORONGAO; ALEX J.

WOLINSKI; and Defendants UNKNOWN CHICAGO POLICE OFFICERS are

employees of the Chicago Police Department (hereinafter referred to as “Defendant

Chicago Police Officers”).

                                    JURISDICTION AND VENUE

       7.     This action arises under 42 U.S.C. §1983. This Court has jurisdiction

pursuant to 28 U.S.C. §§1331 and 1343. The Court has supplemental jurisdiction of

Plaintiffs’ state law claims.

       8.     Venue in the United States District Court for the Northern District of

Illinois is proper pursuant to 28 U.S.C. § 1391(a)(1) and (2) because the Defendants



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are subject to personal jurisdiction in this judicial district and all of the events that

give rise to the case occurred in this judicial district.

                      RESPONDEAT SUPERIOR – STATE LAW

       9.     In committing the acts and omissions alleged above, Defendant

Chicago Police Officers were at all times relevant members and agents of the

Chicago Police Department (the “CPD”) and THE CITY OF CHICAGO and were

acting within the scope of their employment.

       10.    Defendant CITY OF CHICAGO is, therefore, liable as principal for all

common law torts committed by its agents within the scope of their employment.

                         INDEMNIFICATION – STATE LAW

       11.    Pursuant to Illinois law, 745 ILCS 10/9-102, requires public entities to

pay any common law tort judgment for compensatory damages for which employees

are held liable within the scope of their employment activities.

       12.    The Defendant Chicago Police Officers that illegally searched Plaintiff

were at all times relevant employees of THE CITY OF CHICAGO who acted within

the scope of their employment when committing the actions and omissions detailed

herein.

                         FACTS COMMON TO ALL COUNTS

       13.    On or about February 21, 2019, Plaintiff ANJANETTE YOUNG

resided at her home located at 164 N. Hermitage Avenue, Chicago, Illinois 60612

where she had lived for approximately four years.




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      14.    On or about February 21, 2019, at approximately 7:00 p.m., Plaintiff

ANJANETTE YOUNG (hereinafter referred to as “Plaintiff”) was in her bedroom, in

the process of preparing for bed when she heard loud knocking at her front door.

      15.    Plaintiff was attempting to find clothing (to respond to the knocking)

and was completely naked when Defendant Chicago Police Officers broke her front

door and burst in her home without her authorization.

      16.    Plaintiff, at this point shocked immediately tried to grab a jacket to

cover herself but was ordered by the Defendant Chicago Police Officers to put her

hands up while they pointed guns at her.

      17.    Plaintiff then asked the Defendant Chicago Police Officers why they

had burst into her home and she asked them who they were looking for.

      18.    Plaintiff repeatedly pleaded with the Defendant Chicago Police

Officers and advised them that they had the wrong house.

      19.    Plaintiff continued to reiterate to the Defendant Police Officers that

she lived alone.

      20.    Plaintiff was put in handcuffs while completely naked by the

Defendant Chicago Police Officers, all of whom were male.

      21.    Plaintiff repeatedly begged the Officers to put clothing on, but she was

ignored by the Defendant Chicago Police Officers.

      22.    Plaintiff repeatedly asked to see the search warrant but was told by

Defendant Chicago Police Officer ALEX J. WOLINKSI that they would show it to




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her “in a minute” and to told her to “calm down” while she was handcuffed,

completely naked in a room full of strange men.

      23.    Plaintiff was hysterical and crying because she feared for her life.

      24.    Prior to being accosted by the Defendant Police Officers, Plaintiff had

never had a gun pointed at her in her entire life.

      25.    Plaintiff was violated, demoralized and disrespected as the Defendant

Chicago Police Officers continued to search her home and throw her personal

belongings around.

      26.    Plaintiff asked several times if she could put clothing on since she was

still handcuffed and completely naked.

      27.    After an extended period of time, one of the Defendant Chicago Police

Officer grabbed a blanket and attempted to cover Plaintiff, however this covering

was quite inadequate, and her body was still exposed.

      28.    Finally, after forty-five minutes to an hour, a Unknown (female)

Chicago Police Officer was called to Plaintiff’s home, to help the Plaintiff find

clothing and get dressed.

      29.    The Defendant Unknown (female) Chicago Police Officer took Plaintiff

into her bedroom and removed the handcuffs.

      30.    The Defendant Unknown (female) Chicago Police Officer then turned

off her bodycam so Plaintiff could get dressed.

      31.    Once Plaintiff was dressed, she was again placed back into handcuffs.




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      32.    Plaintiff again pleaded with the Defendant Chicago Police Officers

regarding the purpose for their invasion into her home.

      33.    Finally, after at least an hour in her home, Defendant Chicago Police

Officer ALEX J. WOLINKSI, told Plaintiff that the Defendant Chicago Police

Officers were looking for an individual and needed to identify whether anything in

her home belonged to him.

      34.    Defendant Chicago Police Officer ALEX J. WOLINKSI finally showed

Plaintiff the Search Warrant and informed her “they had good intel about the

suspect being there”.

      35.    Plaintiff was made to wait for more than an hour after the Defendant

Chicago Police Officers burst into her home to be shown the Search Warrant.

      36.    Plaintiff advised the Defendant Chicago Police Officers that she had

lived in the same residence, alone, for the last four years.

      37.    Defendant Chicago Police Officer ALAIN APORONGAO was assigned

to the search team.

      38.    Defendant APORONGAO was the affiant of the Complaint for Search

Warrant that was used as the pretext to violate Plaintiff’s constitutional rights.

      39.    When Defendant Chicago Police Officers executed the search warrant

at 164 N. Hermitage Avenue, in Chicago, Illinois, on February 21, 2019, they were

at all times acting under color of law and within the scope of their employment as

officers of the CPD for the Defendant City of Chicago.




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      40.    At approximately 10:00 a.m. on February 21, 2019, Defendant Police

Officer APORONGAO swore out and obtained a search warrant authorizing a

search of “ANDY L. SIMPSON” and the premises at “164 N. Hermitage Ave., 1st

Floor Apartment, Chicago, Cook County, Illinois.”

      41.    The warrant also authorized the seizure of a black semi-automatic

handgun, ammunition, any articles or documents establishing residency, any locked

containers and any other illegal contraband.

      42.    The complaint for the search warrant inaccurately stated, based on

information from a J. Doe confidential informant, that Mr. Simpson resided in the

1st Floor Apartment at 164 N. Hermitage Avenue.

      43.    In fact, on February 21, 2019, Mr. Simpson did not reside at 164 N.

Hermitage Avenue and had not lived there for several years.

      44.    As previously stated, Plaintiff had occupied that residence for the last

four years prior to the incident.

      45.    Mr. Simpson had no connection to 164 N. Hermitage Avenue for

several years.

      46.    As of the date of the incident (and since the incident) Simpson did not

receive mail nor store belongings at Plaintiff’s home.

      47.    Simpson doesn’t have a key to Plaintiff’s home.

      48.    In fact, until the night that she was accosted by the Defendant Chicago

Police Officers, Plaintiff had never heard of Simpson.




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         49.   The Defendant Chicago Police Officers used the address given to them

by the J. Doe informant, without properly verifying this address through various

available resources.

         50.   The facts that a Chicago police officer alleges in a complaint for a

search warrant are required to be “credible and reliable.” (CPD SO4-19, VI.B.a.).

         51.   To this end, a Chicago police officer swearing out a search warrant

under oath before a judge is required to “thoroughly conduct the investigation

leading up to the need for a search warrant.” (CPD SO4-19).

         52.   Crucially, the affiant of a complaint for search warrant is required to

independently investigate and verify the information provided by a John or Jane

Doe confidential informant, including information about where the intended target

resided.

         53.   In other words, as the sworn applicant for the warrant, Defendant

Chicago Police Officer APORONGAO had a duty to discover, diligently and in good

faith, and disclose to the issuing warrant judge whether he had identified the

correct apartment or place to be searched and not the residence of an innocent third

party.

         54.   In direct violation of CPD policy, Defendant Chicago Police Officers

involving in obtaining or approving the search warrant for 164 N. Hermitage

Avenue performed no independent investigation or surveillance to verify that the “J.

Doe” confidential informant had provided current or accurate information regarding

where Mr. Simpson resided or could be found.



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         55.   The Defendant Chicago Police Officers could have made several simple

inquiries to verify the information they had allegedly been provided by their

confidential source, via multiple avenues.

         56.   They could have contacted the building’s owner.

         57.   They could have contacted a utility company supplying energy to the

building.

         58.   They could have utilized CPD’s database, Accurint, which assists

officers in identifying persons residing at a given address.

         59.   They could have run a person search on LexisNexis, using Mr.

Simpsons’ date of birth and last known address.

         60.   However, the Defendant Chicago Police Officers failed to conduct any

investigation or verification, as required by SO4-19.

         61.   They simply trusted what the “J. Doe” told them about where Simpson

lived.

         62.   Consequently, in his complaint for search warrant, Defendant Chicago

Police Officer APORONGAO provided the court with an incorrect or obsolete

address, 164 N. Hermitage Avenue.

         63.   The Defendant Chicago Police Officers did not have probable cause to

believe that Simpson lived there and, therefore, lacked probable cause to enter and

conduct a search at that address (Plaintiff’s home).




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      64.    The Defendant Chicago Police Officers failed in their duty to

independently investigate and verify with particularity the place to be searched,

theirs was not a good faith error.

      65.    Similarly, Defendant Chicago Police Officer WOLINSKI simply gave

rubberstamp approval to APORONGAO’S pitiful application for the search warrant,

without taking any steps to ensure that APORONGAO and other Defendant

Chicago Police Officers had performed their due diligence required by CPD Special

Order SO4-19. Taking such vital steps was something he was required to do.

      66.    On February 21, 2019, Defendant Chicago Police Officers reasonably

knew or should have known that the intended target of warrant did not reside at

164 N. Hermitage Avenue.

      67.    The Defendant Chicago Police Officers had barged in while Plaintiff

was in her bedroom. Plaintiff was startled and ran out into the living room to see

what was going on. Plaintiff did not have any clothes on when the officers barged in.

Plaintiff tried to grab a jacket by a chair (to put it around her) but instead, she was

faced with several Unknown (male) Defendant Chicago Police Officers pointing guns

at her ordering her to put her hands up.

      68.    During this illegal search and seizure, the Defendant Chicago Police

Officers ransacking her home while she stood there crying hysterically, handcuffed

and naked.




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      69.    Eventually, Defendant Chicago Police Officer WOLINSKI removed the

handcuffs from Plaintiff and apologized to her (i.e. admitted liability), but continued

to maintain that they had “good” intel—which was clearly untrue.


                COUNT I – UNLAWFUL SEARCH AND SEIZURE
                    FOURTH AMENDMENT VIOLATION

      70.    Plaintiff re-alleges paragraphs 1 through 69 above and incorporate

them into this count by reference.

      71.    The Defendant Chicago Police Officers unreasonably approved and/or

obtained a search warrant for 164 N. Hermitage Avenue, the wrong address for

Andy L. Simpson, a fact which invalidated the warrant from the start, prior to

execution.

      72.    Defendant Chicago Police Officers’ subsequent unauthorized entry and

search violated Plaintiff’s Fourth Amendment Right to be free from unreasonable

searches of their persons or homes.

      73.    The Defendant Chicago Police Officers seizure of Plaintiff (i.e. placing

her naked in handcuffs for nearly an hour) violated Plaintiff’s Fourth Amendment

Right against an unlawful seizure.

      74.    Moreover, Defendant Chicago Police Officers failed to “knock-and-

announce” in circumstances where it was required.

      75.    As the sworn applicant for the warrant, Defendant Chicago Police

Officer APORONGAO had a duty to discover and disclose to the issuing magistrate

whether he had identified the correct address or place to be searched and not the

residence of an innocent third party.

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      76.    Defendant Chicago Police Officer APORONGAO and the officers

named in this count reasonably knew or should have known that the intended

target(s) of the warrant did not reside at 164 N. Hermitage Avenue, 1st Floor

Apartment, and that Plaintiff did.

      77.    Defendant Chicago Police Officer APORONGAO and the other officers

had a duty to reasonably investigate and verify information they received from J.

Doe about where Mr. Simpson resided.

      78.    Defendant Chicago Police Officers’ conduct under this count merits an

award of punitive damages to Plaintiff. Defendant Chicago Police Officers’ shocking

inaction in failing to perform required and basic reasonable due diligence to verify

the correct location for a search warrant before raiding and searching citizens’

residence constituted an abuse of power and authority. Defendant Chicago Police

Officers’ actions – of relying solely on location information provided by a J. Doe

confidential information – were directed towards at an honest, hard-working citizen

who was totally innocent of all criminal conduct.

      79.    Defendant Chicago Police Officers’ conduct toward Plaintiff was

undertaken with willful and wanton disregard for the rights of others. Defendant

Chicago Police Officers acted with actual intention or with a conscious disregard or

indifference for the consequences when the known safety and health of Plaintiff was

involved. Defendant Chicago Police Officers acted with actual malice, with

deliberate violence, willfully or with such gross negligence as to indicate a wanton

disregard for the rights of others.



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       80.    In light of the character of Defendant Chicago Police Officers’ actions

toward Plaintiff and the lasting or permanent psychological injury that Defendants’

conduct has caused Plaintiff, defendants’ conduct merits an award of punitive

damages.

       WHEREFORE the plaintiffs pray this court for damages according to proof

and for such other and further relief as this Court deems just.

                   COUNT II – FALSE IMPRISONMENT – STATE LAW

       81.    Plaintiff realleges paragraphs 1 through 80 above and incorporate

them into this count by reference.

       82.    The manner in which the Defendant Chicago Police Officers conducted

their entry into, and search of Plaintiffs’ apartment were objectively unreasonable,

in violation of her rights.

       83.    When the Defendant Chicago Police Officers entered Plaintiffs’ home,

kicked down her door, barged in, they handcuffed Plaintiff while she was naked and

refused to let her put clothes on to cover herself—when did not pose a threat and

who did not in any way resemble the target described in the search warrant, they

placed her under arrest.

       84.    This arrest was unlawful and without legal cause or justification.

       85.    The Defendant Chicago Police Officers acted without having

reasonable grounds to believe that an offense was committed by the Plaintiff.

       86.    Plaintiff had her personal liberty or freedom of locomotion unlawfully

restrained.



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      87.    As a direct and proximate result of one or more of the foregoing acts

and/or omissions of the Defendant Chicago Police Officers, the Plaintiff suffered

damages.

      88.    The Defendant Chicago Police Officers’ conduct toward Plaintiff was

undertaken with willful and wanton disregard for the rights of others.

      89.    The Defendant Chicago Police Officers acted with actual intention or

with a conscious disregard or indifference for the consequences when the known

safety and health of Plaintiff was involved.

      90.    The Defendant Chicago Police Officers acted with actual malice, with

deliberate violence, willfully or with such gross negligence as to indicate a wanton

disregard for the rights of others.

      91.    In light of the character of Defendant Chicago Police Officers’ actions

toward Plaintiff and the lasting or permanent psychological injury that Defendants’

conduct has caused Plaintiff, defendants’ conduct merits an award of punitive

damages.

                       COUNT III – ASSAULT – STATE LAW

      92.    Plaintiff re-alleges paragraphs 1 through 91 above and incorporates

them into this count by reference.

      93.    The actions of Defendant Chicago Police Officers set forth above,

including pointing a gun at close range, created reasonable apprehension in

Plaintiff of immediate harmful contact to Plaintiff’s person by the Defendants.




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       94.    The Defendant Chicago Police Officers intended to bring about

apprehension of immediate harmful contact in Plaintiff or knew that their actions

would bring about such apprehension.

       95.    In the alternative, the conduct of Defendant Chicago Police Officers

was willful and wanton and constituted a course of action which shows an actual or

deliberate intention to cause harm or which, if not intentional, shows an utter

indifference to or conscious disregard for the safety of others and/or their property.

       96.    The conduct of Defendant Chicago Police Officer’s in entering and

executing a residential search warrant are generally associated with a risk of

serious injuries. Numerous prior injuries have occurred to civilians in this context.

Defendant Chicago Police Officers failed to take reasonable precautions after having

knowledge of impending danger to Plaintiff.

       97.    The Defendant Chicago Police Officers’ actions were the direct and

proximate cause of Plaintiff’s apprehension.

       98.    Plaintiff has been seriously harmed by Defendant Chicago Police

Officers’ actions.

       99.    In light of the character of Defendant Chicago Police Officers’ actions

toward Plaintiff and the lasting or permanent psychological injury that Defendants’

conduct has caused Plaintiff, defendants’ conduct merits an award of punitive

damages.




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                       COUNT IV – BATTERY – STATE LAW

       100.   Plaintiff re-alleges paragraphs 1 through 99 and incorporates them

into this count by reference.

       101.   The actions of Defendant Chicago Police Officers set forth above,

including handcuffing Plaintiff and parading her through her home by force while

completely naked constituted an unwarranted physical touching.

       102.   The Defendant Chicago Police Officers intentionally took these actions.

       103.   In the alternative, the conduct of Defendant Chicago Police Officers

was willful and wanton and constituted a course of action which shows an actual or

deliberate intention to cause harm or which, if not intentional, shows an utter

indifference to or conscious disregard for the safety of Plaintiff.

       104.   Plaintiff has been seriously harmed by Defendant Chicago Police

Officers’ actions.

       105.   In light of the character of Defendant Chicago Police Officers’ actions

toward Plaintiff and the lasting or permanent psychological injury that Defendants’

conduct has caused Plaintiff, defendants’ conduct merits an award of punitive

damages.

                 COUNT V – INVASION OF PRIVACY -STATE LAW

       106.   Plaintiff re-alleges paragraphs 1 through 105 and incorporates them

into this count by reference.

       107.   By obtaining and executing the search warrant when Defendant

Chicago Police Officers did not have probable cause to believe that the target



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resided at the address given them by the J. Doe, Defendant Chicago Police Officers

physically invaded Plaintiff’s right to and enjoyment of exclusive possession of her

residence.

       108.   In the alternative, the conduct of the Defendant Chicago Police Officers

willful and wanton and constituted a course of action which shows an actual or

deliberate intention to cause harm or which, if not intentional, shows an utter

indifference to or conscious disregard for Plaintiff’s right to and enjoyment of

exclusive possession of her residence.

       109.   This is particularly true, because when the aforementioned actions

were taken by the Defendant Chicago Police Officers, Plaintiff was completely

naked and preparing for bed.

       110.   Notwithstanding this, Plaintiff was forced to stand naked in front of

several strange men, who entered her home without legal justification in a forceful

manner (i.e. they broke her front door).

       111.   Defendant Chicago Police Officers’ actions caused a physical invasion

of Plaintiff’s residence.

       112.   Plaintiff was harmed by Defendant Chicago Police Officers’ physical

invasion of her residence.

                             COUNT VI – TRESPASS -STATE LAW

       113.   Plaintiff re-alleges paragraphs 1 through 112 and incorporates them

into this count by reference.




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       114.   By obtaining and executing the search warrant when Defendant

Chicago Police Officers did not have probable cause to believe that the target

resided at the address given them by the J. Doe, Defendant Chicago Police Officers

and then executing that search warrant—the Defendant Chicago Police Officers

entered Plaintiff’s home unlawfully and without being otherwise invited therein by

Plaintiff.

       115.   In the alternative, the conduct of the Defendant Chicago Police Officers

willful and wanton and constituted a course of action which shows an actual or

deliberate intention to cause harm or which, if not intentional, shows an utter

indifference to or conscious disregard for Plaintiff’s right to and enjoyment of

exclusive possession of her residence.

       COUNT VII – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS –
                                STATE LAW

       116.   Plaintiff re-alleges paragraphs 1 through 115 and incorporates them

into this count by reference.

       117.   The actions, omissions and conduct of the Defendant Chicago Police

Officers set forth above were extreme and outrageous and exceeded all bounds of

human decency.

       118.   The Defendant Chicago Police Officers’ actions, omissions and conduct

above were undertaken with the intent to inflict and cause severe emotional

distress to Plaintiff, with the knowledge of the high probability that their conduct

would cause such distress, or in reckless disregard of the probability that their

actions would cause such distress.

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      119.   The Defendant Chicago Police Officers, who occupied positions of

special trust and authority, knew, had reason to know or believe that Plaintiff, was

especially vulnerable and fragile.

      120.   As a direct and proximate result of the Defendant Chicago Police

Officers’ extreme and outrageous conduct, Plaintiff suffered and continues to suffer

long-term, severe emotional distress and trauma.


    COUNT VIII – NEGLIGENT (RECKLESS) INFLICTION OF EMOTIONAL
                       DISTRESS – STATE LAW


      121.   Plaintiff re-alleges paragraphs 1 through 120 and incorporates them

into this count by reference.

      122.   The actions, omissions and conduct of the Defendant Chicago Police

Officers set forth above were extreme and outrageous and exceeded all bounds of

human decency.

      123.   The conduct of the Defendant Chicago Police Officers showed an utter

indifference to or conscious disregard for the safety of others and/or their property.

      124.   The conduct of the Defendant Chicago Police Officers in entering and

executing a residential search warrant are generally associated with a risk of

serious injuries. Numerous prior injuries have occurred to civilians in this context.

The Defendant Chicago Police Officers failed to take reasonable precautions after

having knowledge of impending danger to Plaintiff.




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      125.   The Defendant Chicago Police Officers’ actions was a proximate cause

of Plaintiffs’ injuries and her extreme, severe, long-term emotional distress and

trauma.

      126.   In the alternative, the Defendant Chicago Police Officers owed Plaintiff

a duty of care that they breached when they pointed guns at her. Plaintiff is a direct

victim of Defendant Chicago Police Officers’ negligent (reckless) infliction of

emotional distress.

      127.   Furthermore, the conduct of the Defendant Chicago Police Officers

showed an utter indifference to or conscious disregard for the safety of others and/or

her property.

      128.   Defendant Chicago Police Officers’ actions was a proximate cause of

Plaintiffs’ injuries and her extreme, severe, long-term emotional distress and

trauma.




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                      PRAYER FOR RELIEF (ALL COUNTS)

      WHEREFORE, Plaintiff respectfully request that the Court enter judgment

in their favor and against the Defendants on each count for:

         a) Compensatory damages;

         b) Punitive damages;

         c) Reasonable attorney’s fees and litigation costs and expenses; and

         d) Such other or further relief as the Court deems just and proper.




                                              _____________________________________
                                                                  Keenan J. Saulter
                                                                Counsel for Plaintiff




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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

ANJANETTE YOUNG,                 )
                                 )
          Plaintiff,             )
                                 )
          -vs-                   )                Case No.: 19-cv-05312
                                 )
THE CITY OF CHICAGO; CHICAGO     )
POLICE OFFICERS ALAIN APORONGAO; )
ALEX J. WOLINSKI; and UNKNOWN    )                Jury Trial Demanded
CHICAGO POLICE OFFICERS,         )
                                 )
          Defendants.            )

                                 JURY DEMAND

      Plaintiff demands trial by jury.



                                                  __________________________
                                                        Keenan J. Saulter




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